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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )            CR. NO. 10-00631-05 LEK
                              )
          Plaintiff,          )            ORDER DENYING THE
                              )            GOVERNMENT’S APPEAL AND
     vs.                      )            REQUEST TO THE DISTRICT COURT
                              )            TO RECONSIDER A PRETRIAL
CHARLES ALAN PFLUEGER,   (01) )            MATTER DETERMINED BY THE
JAMES HENRY PFLUEGER,    (02) )            MAGISTRATE JUDGE AND
RANDALL KEN KURATA,      (03) )            AFFIRMING ORDER DENYING
DENNIS LAWRENCE DUBAN,   (04) )            MOTION TO DISQUALIFY, FILED
JULIE ANN KAM,           (05) )            ON AUGUST 15, 2011
                              )
          Defendants.         )
_____________________________ )



       ORDER DENYING THE GOVERNMENT’S APPEAL AND REQUEST TO
        THE DISTRICT COURT TO RECONSIDER A PRETRIAL MATTER
         DETERMINED BY THE MAGISTRATE JUDGE AND AFFIRMING
   ORDER DENYING MOTION TO DISQUALIFY, FILED ON AUGUST 15, 2011

            Before the Court is Plaintiff the United States of

America’s (“the Government”) Appeal and Request to the District

Court to Reconsider a Pretrial Matter Determined by the

Magistrate Judge (“Magistrate Appeal”), filed on October 4, 2011.

[Dkt. no. 101.]     Defendant Julie Ann Kam (“Defendant Kam”) filed

her opposition to the Magistrate Appeal (“Opposition”) on

October 18, 2011, and Defendant Randall Ken Kurata (“Defendant

Kurata”) filed a joinder in the Opposition (“Joinder”) on

October 19, 2011.        [Dkt. nos. 103, 105.]      This matter came on for

hearing on December 2, 2001.        Appearing on behalf of the

Government were Assistant United States Attorney Leslie Osborne,

Jr., and, by telephone, Timothy Stockwell and Kevin Sweeney,
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Special Attorneys, United States Department of Justice, Tax

Division.    Appearing on behalf of Defendant Kam were Lyle Hosoda,

Esq., and Raina Gushiken, Esq.            After careful consideration of

the Magistrate Appeal, Opposition, the arguments of counsel, the

Government’s Magistrate Appeal is HEREBY DENIED.

                                  BACKGROUND

            The parties and the Court are familiar with the factual

and procedural background of this case.                 The Court will therefore

only discuss the events that are relevant to the Magistrate

Appeal.

            The Government filed its Motion to Disqualify on

August 15, 2011.         [Dkt. no. 85.]       The Motion to Disqualify

asserted that Defendant Kam’s counsel, Mr. Hosoda, also currently

represents several government witnesses that will provide

critical testimony at trial implicating Defendant Kam.                    The

Government argued that Mr. Hosoda and his law firm, Lyle S.

Hosoda & Associates,1 must be disqualified from representing

Defendant Kam because there is an actual conflict of interest and

a significant risk of potential conflicts of interest during

trial.    The Government argued that, if Mr. Hosoda and his law

firm are not disqualified, it would deprive Defendant Kam of her

Sixth Amendment right to conflict-free counsel.


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       Although the Motion to Disqualify identified Mr. Hosoda’s
law firm as Lyle S. Hosoda & Associates, the firm name is
actually Hosoda & Morikone, LLC.

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            After briefing by the parties and a hearing on

September 15, 2011, the magistrate judge orally denied the Motion

to Disqualify.     [Minutes, filed 9/15/11 (dkt. no. 99).]               On

September 23, 2011, the magistrate judge issued his Order Denying

Motion to Disqualify, Filed on August 15, 2011 (“Order”).                   [Dkt.

no. 100.]    The Order notes that Mr. Hosoda submitted a

declaration stating that he did not receive any confidential

information from his former clients and that the scope of this

representation was limited to assisting them with their

appearances before the grand jury and securing immunity for

them.2    The magistrate judge found that the Government had not

established an actual conflict.         [Order at 2-3.]          Although

Mr. Oshiro’s grand jury testimony “may be useful to the

Government to attempt to show inconsistency in position, . . .

anything else would be speculation and conjecture.”                  [Id. at 3.]

The Order also states “Defendant Kam has signed a knowing and

voluntary waiver of any conflict after reading the Government’s

motion.    Defendant Kam may be subject to further or future



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       The Motion to Disqualify stated that the Government was
going to call all of Mr. Hosoda’s former clients in this matter
as witnesses at trial, and the motion refers generally to the
representation of the main Government witnesses. The magistrate
judge, however, found that in the Government’s “motion and
supporting memoranda however, it only produced testimony and
focused on one former client of Mr. Hosoda, Alvin Oshiro. As
such, the Government has shown no bases to disqualify Mr. Hosoda
based upon his representation of any other of his former
clients.” [Order at 2-3.]

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inquiry on this by the Court.”          [Id.]

I.    The Government’s Magistrate Appeal

            The Government urges this Court to reconsider the

magistrate judge’s finding that there is no actual conflict or

serious potential for conflict.         The Government reiterates that

Defendant Kam and the Government witnesses, including Mr. Oshiro,

have adverse interests and that Mr. Hosoda’s representation of

both creates an actual conflict of interest.                 The Government also

argues that Mr. Hosoda will not be able to effectively cross-

examine his former clients without violating his duty of loyalty

to them.    An ineffective cross-examination would deprive

Defendant Kam of her right to cross-examine those witnesses.

            Further, the Government urges the Court to reject

Defendant Kam’s purported waiver of the conflicts because the

Government contends that the waiver was not knowing and

intelligent.     The Government argues that there was no colloquy to

determine whether Defendant Kam understood the conflict and

whether her waiver was knowing and intelligent.                 Moreover, the

Government asserts that Defendant Kam could not knowingly and

intelligently waive a conflict of interest “when the Magistrate

Judge has told her that no such conflicts exist.”                 [Magistrate

Appeal at 6.]     If this Court “is not inclined to deny the waiver,

at a minimum it must conduct a thorough inquiry and extensively

question Kam regarding her waiver to ensure that it is knowing


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and intelligent.”        [Id. at 8.]     The Government asserts that

allowing Defendant Kam’s current waiver to stand could result in

a future mistrial or reversal on appeal.

II.   Opposition

            Defendant Kam reiterates that, because of Mr. Hosoda’s

limited representation of the Government witnesses, Alvin Oshiro,

Cindy Foster, Jandi Saito, and Trophine Nuuhiwa, he did not

receive any privileged information from them.                   [Mem. in Opp. to

Motion to Disqualify, Decl. of Lyle S. Hosoda (“Hosoda Decl.”),

filed 8/31/11 (dkt. no. 91-1), at ¶¶ 3-4.]                    Mr. Hosoda’s

representation of them ended after assisting Mr. Oshiro with his

last grand jury appearance on August 4, 2010, [id. at ¶ 5,] long

before Mr. Hosoda entered his appearance in this case as counsel

for Defendant Kam [Notice of Withdrawal & Substitution of Counsel

& Order, filed 6/8/11 (dkt. no. 80)].               Thus, Defendant Kam

contends there is no risk that Mr. Hosoda could disclose his

former clients’ confidential information during his

representation of her to his former clients’ detriment, and there

is no risk that he would avoid vigorous cross-examination of his

former clients.     Defendant Kam also argues that her interests are

not directly and materially adverse to the interests of

Mr. Hosoda’s former clients because they are not now, and never

were, co-defendants, victims, or government agents in this

matter.    Further, the Government’s position that Mr. Oshiro’s


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grand jury testimony implicates her is mere conjecture.

[Opposition at 8.]       “The Government has failed to put forth any

credible evidence of even a single transaction that Mr. Oshiro

testified to, with supporting documents showing that [Defendant]

Kam, in her individual capacity, committed the tax fraud alleged

against her.”     [Id. at 8-9.]

            Defendant Kam also asserts that, in response to the

Motion to Disqualify, she executed a knowing, intelligent, and

voluntary waiver of the potential conflict identified by the

Government.     [Mem. in Opp. to Motion to Disqualify, Decl. of

Julie Ann Kam, filed 8/31/11 (dkt. no. 91-2).]                 Her declaration

in opposition to the Motion to Disqualify confirmed that Mr.

Hosoda discussed the potential conflict with her, and that she

was aware of the risks and possible consequences of the potential

conflict.    [Id. at ¶¶ 5, 7.]     She also confirmed that she was

aware of her right to: have conflict-free counsel; obtain counsel

to replace Mr. Hosoda; and consult with independent counsel about

Mr. Hosoda’s potential conflict.            [Id. at ¶¶ 8-10.]        After

considering all of these issues, Defendant Kam stated that she

wants Mr. Hosoda to continue representing her, [id. at ¶ 11,] and

she “voluntarily wish[es] to waive [her] right to be represented

by an attorney free of conflict of interest and wish[es] to

continue to be represented by [her] present counsel.”                  [Id. at ¶

12.]   Defendant Kam emphasizes that the Government has not


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contested the fact that “the governing ethical rules contemplate

and allow for Mr. Hosoda’s successive representation where he has

obtained a voluntary, knowing and intelligent waiver from

[Defendant] Kam.”        [Opposition at 12.]     Defendant Kam urges the

Court to uphold the magistrate judge’s ruling that her waiver was

valid and to deny the Magistrate Appeal.

III. Hearing on the Magistrate Appeal

            At the hearing, this Court conducted an extended

colloquy with Defendant Kam about her knowledge of the

circumstances at issue in the Magistrate Appeal.              The Court also

questioned her regarding whether she understood her

constitutional right to counsel, in particular her right to

conflict-free counsel.        All of Defendant Kam’s responses were

consistent with her statements in her declaration attached to her

memorandum in opposition to the Motion to Disqualify.

            In addition to reiterating the arguments previously

raised in the Motion to Disqualify and the Magistrate Appeal, the

Government argued that, if the Court was inclined to affirm the

Order and deny the Magistrate Appeal, this Court should allow the

Government to revisit the matter if future circumstances come to

light that make the conflict more readily apparent.

                                   STANDARD

                 Pursuant to 28 U.S.C. § 636(b)(1) and
            Criminal Local Rule 57.3(b), a party may appeal to
            a district judge any pretrial nondispositive
            matter determined by a magistrate judge. Under 28

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            U.S.C. § 636(b)(1)(A), a magistrate judge’s order
            may be reversed by the district court only if it
            is “clearly erroneous or contrary to law.” The
            threshold of the “clearly erroneous” test is high.
            United States v. U.S. Gypsum Co., 333 U.S. 364,
            395 (1948) (“A finding is ‘clearly erroneous’ when
            although there is evidence to support it, the
            reviewing court on the entire evidence is left
            with the definite and firm conviction that a
            mistake has been committed.”); Thorp v. Kepoo, 100
            F. Supp. 2d 1258, 1260 (D. Haw. 2000) (the clearly
            erroneous standard is “significantly deferential,
            requiring a definite and firm conviction that a
            mistake has been committed”).

United States v. Sou, Crim. No. 09–00345 SOM, 2011 WL 1463798, at

*2 (D. Hawai`i Apr. 15, 2011).

                                DISCUSSION

I.    Whether There is an Actual Conflict of
      Interest or a Serious Potential for Conflict

            This district court has recognized the following

principles regarding a criminal defendant’s constitutional right

to be represented by conflict-free counsel:

                 The Sixth Amendment provides that a criminal
            defendant shall have the right to the assistance
            of counsel for his defense. One element of this
            right is the accused’s right to select and be
            represented by the attorney of his choice. United
            States v. Gonzalez-Lopez, 548 U.S. 140, 126 S. Ct.
            2557, 2561, 165 L. Ed. 2d 409 (2006).
            Nevertheless, this right is not absolute as the
            “essential aim” of the Sixth Amendment is “to
            guarantee an effective advocate for each criminal
            defendant, rather than to ensure that a defendant
            will inexorably be represented by the lawyer whom
            he prefers.” Wheat v. United States, 486 U.S.
            153, 159, 108 S. Ct. 1692, 100 L. Ed. 2d 140
            (1988). The Sixth Amendment also guarantees a
            criminal defendant the right to assistance of
            counsel unburdened by conflicts of interest.
            United States v. Elliot, 463 F.3d 858, 867 (9th

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            Cir. 2006) (“Few aspects of our criminal justice
            system are more vital to the assurance of fairness
            than the right to be defended by counsel, and this
            means counsel not burdened by a conflict of
            interest.” (citing United States v. Henke, 222
            F.3d 633, 638 (9th Cir. 2000) (per curiam)));
            Bonin v. California, 494 U.S. 1039, 1044, 110 S.
            Ct. 1506, 108 L. Ed. 2d 641 (1990) (Marshall, J.,
            dissenting) (“The right to counsel’s undivided
            loyalty is a critical component of the right to
            assistance of counsel; when counsel is burdened by
            a conflict of interest, he deprives his client of
            his Sixth Amendment right as surely as if he
            failed to appear at trial.”). Thus, while there
            is a presumption in favor of a defendant’s counsel
            of choice, Gonzalez-Lopez, 126 S. Ct. at 2561,
            “that presumption may be overcome not only by a
            demonstration of actual conflict of interest but
            by a showing of a serious potential for conflict.”
            Wheat, 486 U.S. at 164. Determining whether a
            conflict exists “must be left primarily to the
            informed judgment of the trial court.” Id.

                 An attorney’s former representation of a
            government witness can create an actual or serious
            potential conflict that warrants disqualification.
            See Moss v. United States, 323 F.3d 445, 460 (6th
            Cir. 2003) (“[T]he most common example of an
            actual conflict of interest arising from
            successive representation occurs when an
            attorney’s former client serves as a government
            witness against the attorney’s current client at
            trial.”). In such cases of successive
            representation, “conflicts of interest may arise
            if the cases are substantially related or if the
            attorney reveals privileged communications of the
            former client or otherwise divides his loyalties.”
            United States v. Shwayder, 312 F.3d 1109, 1118
            (9th Cir. 2002) (quoting Fitzpatrick v. McCormick,
            869 F.2d 1247, 1252 (9th Cir. 1989) (internal
            quotation marks omitted)). Potential dangers in a
            case involving successive representation include:
            (1) the attorney may be tempted to use privileged
            information learned during the prior
            representation to the disadvantage of the former
            client, or (2) the attorney may fail to conduct a
            rigorous cross-examination of the former client
            for fear of revealing or misusing confidential

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             information learned during the prior
             representation to the disadvantage of the current
             client. See Sanders v. Ratelle, 21 F.3d 1446,
             1453 (9th Cir. 1994).

                  The court may allow an attorney to proceed
             despite a conflict “if the defendant makes a
             voluntary, knowing, and intelligent waiver.”
             United States v. Martinez, 143 F.3d 1266, 1269
             (9th Cir. 1998) (internal quotation marks and
             citation omitted). Nevertheless, even in cases
             where a defendant waives an actual or potential
             conflict, district courts have “substantial
             latitude in refusing waivers of conflicts of
             interest” in favor of disqualification in cases
             “where a potential for conflict exists which may
             or may not burgeon into an actual conflict as the
             trial progresses.” Wheat, 486 U.S. at 163. The
             Supreme Court has recognized the difficulty
             inherent in these situations:

                   Unfortunately for all concerned, a district
                   court must pass on the issue whether or not
                   to allow a waiver of a conflict of interest
                   by a criminal defendant not with the wisdom
                   of hindsight after the trial has taken place,
                   but in the murkier pre-trial context when
                   relationships between parties are seen
                   through a glass, darkly. The likelihood and
                   dimensions of nascent conflicts of interest
                   are notoriously hard to predict, even for
                   those thoroughly familiar with criminal
                   trials.

             Id. at 162-63.

                  In ascertaining the existence of an actual or
             serious potential conflict, the court may look in
             part to the relevant body of professional rules.
             See In re Grand Jury Investigation, 447 F. Supp.
             2d 453, 458 (E.D. Pa. 2006) (finding that the
             Rules of Professional Conduct provide a useful
             guide against which to measure the conduct of
             lawyers subject to a disqualification motion).
             The Local Rules for the District of Hawaii require
             attorneys practicing in the district to comply
             with the Hawaii Rules of Professional Conduct
             (“HRPC”). See Local Rule 83.3.

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                   HRPC 1.7 provides that:

                   (a) A lawyer shall not represent a client if
                   the representation of that client will be
                   directly adverse to another client unless:

                         (1) the lawyer reasonably believes the
                         representation will not adversely affect
                         the relationship with the other client;
                         and

                         (2) each client consents after
                         consultation.

                   (b) A lawyer shall not represent a client if
                   the representation of that client may be
                   materially limited by the lawyer’s
                   responsibilities to another client or to a
                   third person, or by the lawyer’s own
                   interests unless:

                         (1) the lawyer reasonably believes the
                         representation will not be adversely
                         affected; and

                         (2) the client consents after
                         consultation. When representation of
                         multiple clients in a single matter is
                         undertaken, the consultation shall
                         include explanation of the implications
                         of the common representation and the
                         advantages and risks involved.

             Nonetheless, “when a disinterested lawyer would
             conclude that the client should not agree to the
             representation under the circumstances, the lawyer
             involved cannot properly ask for such agreement or
             provide representation under the circumstances.
             When more than one client is involved, the
             question of conflict must be resolved as to each
             client.” HRPC 1.7 cmt. ¶ 5.

 United States v. Gaitan-Ayala, CR No. 07-00268-01 JMS, 2008 WL

 1752678, at *2-4 (D. Hawai`i Apr. 17, 2008) (footnote omitted).




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             In light of the foregoing principles, this Court cannot

 find that the magistrate judge’s finding of no actual conflict or

 serious potential for conflict was clearly erroneous.              Defendant

 Kam has presented Mr. Hosoda’s declaration that he did not learn

 any confidential information during his prior representation of

 the Government’s intended witnesses, including Mr. Oshiro.

 [Hosoda Decl. at ¶ 4.]      The Government has not presented any

 evidence to the contrary.      In addition, the Court notes that

 Mr. Hosoda stated co-counsel will conduct Mr. Oshiro’s cross-

 examination if the Government calls Mr. Oshiro to testify at

 trial.   [Id. at ¶ 7.]     The Court cannot say that, after reviewing

 the evidence, it has a definite and firm conviction that the

 magistrate judge made a mistake.            The Court therefore AFFIRMS the

 magistrate judge’s findings that there is neither an actual

 conflict of interest nor a serious potential conflict of

 interest.

 II.   Waiver

             Insofar as this Court has affirmed the magistrate

 judge’s finding that there is neither an actual conflict of

 interest nor a serious potential for conflict, this Court

 concludes that it is unnecessary to address the issue of the

 validity of Defendant Kam’s waiver.           There being no actual

 conflict or serious potential for conflict, there is nothing to

 waive at this time.      Although this Court has not ruled upon the


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 magistrate judge’s finding regarding waiver, to the extent that

 this Court agrees with the magistrate judge’s ultimate decision

 to deny the Motion to Disqualify, this Court AFFIRMS the

 magistrate judge’s Order and DENIES the Government’s Magistrate

 Appeal.

                                 CONCLUSION

             On the basis of the foregoing, the Government’s Appeal

 and Request to the District Court to Reconsider a Pretrial Matter

 Determined by the Magistrate Judge, filed October 4, 2011 [dkt.

 no. 101], is HEREBY DENIED, and the magistrate Judge’s

 September 23, 2011 Order Denying Motion to Disqualify, Filed on

 August 15, 2011 [dkt. no. 100], is HEREBY AFFIRMED.

             The Court emphasizes that the denial of the Motion to

 Disqualify is WITHOUT PREJUDICE.            If there is a future change in

 the circumstances of this case, or if new evidence comes to

 light, as to the conflict issue, the Government should bring the

 matter to the district court’s attention by filing a renewed

 motion to disqualify.

             IT IS SO ORDERED.




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             DATED AT HONOLULU, HAWAII, December 8, 2011.



                                     /S/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




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